                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

IN THE MATTER OF:

GISSING NORTH AMERICA LLC                                           Chapter 7
     f/k/a Conform Gissing International, LLC                       Case No. 22-46160-lsg
                                                                    Hon. Lisa S. Gretchko
                        Debtors1.
_______________________________________/

         ORDER ESTABLISHING PROCEDURES
GOVERNING AVOIDANCE ACTION ADVERSARY PROCEEDINGS

        This matter came before the Court upon the Trustee’s motion (“Motion”;
ECF No. 853) to establish procedures governing avoidance action Adversary
Proceedings2, and the Trustee’s ex parte motion for an expedited hearing on the
Motion. Pursuant to the Court’s July 22, 2024 order, on July 29, 2024, the Court
held an expedited hearing (“Hearing”) on the Motion. The Trustee and counsel
for the Trustee appeared at the Hearing. The Court has reviewed the Motion
and other pertinent pleadings, has considered the statements made at the
Hearing, and is advised in the premises.

        NOW, THEREFORE, IT IS HEREBY ORDERED that the Motion is
granted in part, and denied in part, and the Procedures (as that term is defined
below in this Order) shall be as follows:



1
  Debtors’ cases are being jointly administered for procedural purposes only and consist of Debtors
Gissing North America LLC, Case No. 22-46160, Gissing Auburn LLC, Case No. 22-46169,
Gissing Fremont LLC, Case No. 22-46170, Gissing Greenville LLC, Case No. 22-46171, Gissing
Sidney LLC, Case No. 22-46172, Gissing Sumter LLC, Case No. 22- 46173, Gissing Technologies
LLC, Case No. 22-46174, and Gissing Technologies Mexico LLC, Case No. 22-46175.
2
  Capitalized terms used but not defined in this Order shall have the meaning ascribed to them in
the Motion.


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         I.    Applicability of Procedures

               A. General Applicability

         The procedures set forth in this Order (“Procedures”) shall apply to all
Adversary Proceedings as to which an answer or other responsive pleading is
filed, except as otherwise provided below. The Procedures shall continue to
govern the Adversary Proceedings unless expressly modified by order of the
Court.
              B. Opting Out of Procedures

      Any defendant may opt out of being subject to the Procedures set forth in
this Order by filing (in the pertinent Adversary Proceeding) and serving on
plaintiff’s counsel a written “Opt Out Notice” on or before September 30, 2024.
Upon the filing of a timely Opt Out Notice, the Adversary Proceeding shall be
deemed to be a Disputed Adversary Proceeding and shall be governed by the
Federal Rules of Civil Procedure, as adopted by the Federal Rules of
Bankruptcy Procedure, subject to paragraph III.B.2 below.

      II.     Service of Procedures; Notices of Deadlines

     By August 16, 2024, the Trustee must serve, by U.S. Mail, postage prepaid, a
copy of this Order upon each defendant in each Adversary Proceeding and shall
promptly file a certificate of service.

      III.    Discovery Matters & Protocol

               A. Continued Adversary Proceedings

         All Adversary Proceedings as to which an answer or other responsive
pleading is filed, and as to which no Opt Out Notice is timely filed, shall be
deemed to be a Continued Adversary Proceeding unless the Trustee, or any



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defendant in the Adversary Proceeding, or the Court, files an Election Notice
(defined below) in accordance with the Procedures set forth in this Order. For
all Continued Adversary Proceedings, the Federal Rules of Civil Procedure, as
adopted by the Federal Rules of Bankruptcy Procedure, shall be modified as
follows:
           (1) Suspension of Certain Rule 26 Requirements

                Parties to Continued Adversary Proceedings do not need to: (i)
              conduct a Rule 26(f) conference, (ii) make initial disclosures (as
              provided in Fed.R.Civ.P. 26(a)(1), and/or (iii) file a Rule 26(f)
              Report.


           (2) Informal Discovery

                Parties to Continued Adversary Proceedings must engage in
              informal discovery by exchanging information to facilitate
              settlement but, unless and until a Continued Adversary Proceeding
              becomes a Disputed Adversary Proceeding and (pursuant to
              Fed.R.Civ.P. 26(d)(1)) the parties have conferred as required by
              Rule 26(f), said parties must not take depositions or serve formal
              discovery requests on each other, such as: requests for production
              of documents, interrogatories, or requests for admissions
              (collectively, “Discovery Requests”).

The Trustee shall inform the Court of the status of each open Continued
Adversary Proceeding at least three (3) business days before each Omnibus
Hearing date, as described below in this Order.




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           B. Disputed Adversary Proceedings

          (1) Election Notice

                The Trustee, or any defendant in an Adversary Proceeding,
               or the Court, may elect to deem a Continued Adversary
               Proceeding to be a Disputed Adversary Proceeding by filing
               written notice of such election (“Election Notice”) in the
               pertinent Adversary Proceeding via the CM/ECF System,
               which will electronically serve the Election Notice upon all
               counsel of record in the Continued Adversary Proceeding.
                An Election Notice shall be binding on all parties to the
               Continued Adversary        Proceeding,   and   any   Continued
               Adversary Proceeding in which an Election Notice has been
               filed shall thereupon be considered to be a Disputed Adversary
               Proceeding to which the Federal Rules of Civil Procedure as
               adopted by the Federal Rules of Bankruptcy Procedure, shall
               apply subject to paragraph (2) immediately below.


          (2) Mediation of Disputed Adversary Proceedings


                The Trustee and the defendant(s) in a Disputed Adversary
               Proceeding must: (i) engage in and complete mediation
               pursuant to E.D. Mich. LBR 7016-2 within ninety (90) days
               after a Continued Adversary Proceeding becomes a Disputed
               Adversary Proceeding, unless the Court enters an order
               providing for a longer period in which to conduct or conclude
               said mediation, (ii) file a stipulation and proposed order
               selecting a mediator (from the Bankruptcy Court’s panel of


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               mediators), provided however, that if the parties are unable to
               agree upon a mediator then they must file a statement to that
               effect and contact the Courtroom Deputy, Cheryl London, at
               313-234-0043, and the Court will enter an order selecting a
               mediator from the Bankruptcy Court’s panel of mediators. At
               the conclusion of the mediation of the Disputed Adversary
               Proceeding, the mediator must file a certification pursuant
               to E.D. Mich. LBR 7016-2(a)(7). If the mediator’s
               certification   indicates   that   a   Disputed     Adversary
               Proceeding was not resolved at mediation, the mediator
               must contact the Courtroom Deputy, Cheryl London, 313-
               234-0043, whereupon the Court will issue a notice of initial
               scheduling conference. The Federal Rules of Bankruptcy
               Procedure will thereupon govern the unresolved Disputed
               Adversary Proceeding.


    IV.   Omnibus Status & Motion Hearings

       The Court shall hold regular omnibus hearings in connection with
    Adversary Proceedings (each an “Omnibus Hearing”), at which time the
    Trustee will orally present a status report on the Adversary Proceedings
    generally, and during which all substantive motions in Adversary
    Proceedings will be heard, unless the Court schedules another time for a
    particular motion.




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                A. Omnibus Hearing Dates

        Omnibus Hearings are set for the following dates:

          September 20, 2024 at 1:00 p.m. (EST)
          October 18, 2024 at 1:00 p.m. (EST)
          November 8, 2024 at 1:00 p.m. (EST)
          December 13, 2024 at 1:00 p.m. (EST)
          January 17, 2025 at 1:00 p.m. (EST)
          February 21, 2025 at 1:00 p.m. (EST)

Future Omnibus Hearings may be scheduled by the Court on an as-needed
basis. Matters requiring a hearing in an Adversary Proceeding shall be set for,
and heard on, an Omnibus Hearing date unless the Court independently sets a
different date, or a party to an Adversary Proceeding files a motion, for cause
shown, to have a matter to be heard on a date other than an Omnibus Hearing
date.
               B. Appearances at Omnibus Hearings

        Defendants are not required to appear at the Omnibus Hearings unless:

                    i.   such defendants have made a request for relief from the
                         Court that will be heard at the Omnibus Hearing;
                   ii.   the Trustee has made a request for relief against
                         such defendants that will be heard at the scheduled
                         Omnibus Hearing and such defendants intend to
                         contest that relief; or
                  iii.   the Court has directed the defendant to appear.

               C. Trustee’s Reports to the Court for Omnibus Hearings

        At least three (3) business days before each Omnibus Hearing, the
Trustee will file with the Court charts summarizing the status of all open
Adversary Proceedings (collectively the “Preference Case Status Charts”)
which separately summarize: (i) all Adversary Proceedings in which no answer



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or other responsive pleading was filed, including a subset designating
Adversary Proceedings in which the deadline for an answer (or other responsive
pleading) has been extended by Court order, (ii) all open Continued Adversary
Proceedings, (iii) all open Disputed Adversary Proceedings, and (iv) all
Adversary Proceedings as to which a settlement is pending.
      Unless otherwise provided by separate order of the Court, the Trustee will
inform the Court of the status of each open Adversary Proceeding at every
Omnibus Hearing through the Preference Case Status Charts and the oral
presentation/explanation of the Preference Case Status Charts.


      V.      Miscellaneous Provisions

           A. Relief from Procedures

   None of the Procedures shall prevent any party to an Adversary Proceeding
from seeking relief from the provisions of the Procedures by appropriate motion
to the Court upon a showing of cause.
           B. Exchanging Documents & Information

   None of the Procedures shall prevent the parties to an Adversary Proceeding
from voluntarily exchanging information or engaging in settlement discussions
at any time. Voluntary exchanges of information shall not be construed as a
waiver of any of the requirements or limitations contained in the Procedures.




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          C. Construction

   The Procedures shall be construed by the parties in a manner that promotes
the most expeditious and economical resolution of the Adversary Proceedings
and administration of the Debtor’s bankruptcy case.



Signed on July 30, 2024




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